Case 2:04-cr-20372-SH|\/| Document 36 Filed 06/02/05 Page 10f2 Page|D_A§_S

  

 

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FOR THE wEsTERN DISTRICT OF TENNESSEE ogdle /
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UNITED sTATEs OF AMERICA, WD. sir ~i~';<`j“ H§§;FC?"T
rr '.`_:,.},,HS
Plaintiff,
vs. Cr. No. 04-20372 - Ma
ANTHONY DRIVER,
Defendant.

 

ORDER GRANTING APPLICATION FOR WRIT
OF HABEAS CORPUS AD TESTIFICANDUM

 

THIS CAUSE having come before this Court upon the petition of
the defendant for an order directing a Writ of Habeas Corpus Ad
Testificandum, and for good cause shown, the court hereby GRANTS
the motion.

David G. Jolley, United States Marshal for the Western
District of Tennessee, is hereby commanded to have Fulton Wright,
R&I Number 237264, date of birth November 26, 1976, who is confined
at the Shelby County Correctional Center, 1045 Mullins Station
Roadr Memphis, Tennessee in the Custody'of Chief Anthony'Alexander,

brought before this United States District Court on Friday, June 3,

F».M,W>/ //0/%

DATE UNITED STATES DISTRICT COURT JUDGE

2005, at 9:00 a.m.

IT IS SO ORDERED.

 

This door ment entered on the docket sheet H com liénce
wim R.lie 55 and/or 321|:)) FBCrP on _S.Q____D¢§_.

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 36 in
case 2:04-CR-20372 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

David Pritchard

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Honorable Samuel Mays
US DISTRICT COURT

